Case 3:20-cv-08267-ZNQ-TJB Document 33-3 Filed 01/25/21 Page 1 of 2 PageID: 515




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 and New Jersey Working Families
 Alliance, Inc.


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



  CHRISTINE CONFORTI, ARATI KREIBICH,
  MICO LUCIDE, JOSEPH MARCHICA,
  KEVIN MCMILLAN, ZINOVIA SPEZAKIS,               Civ. A. No. 3:20-CV-08267-FLW-TJB
  and NEW JERSEY WORKING FAMILIES
  ALLIANCE, INC.,

                Plaintiffs,
                                                  CERTIFICATION OF SERVICE
  v.

  CHRISTINE GIORDANO HANLON, in her
  official capacity as Monmouth County Clerk,
  SCOTT M. COLABELLA, in his official
  capacity as Ocean County Clerk, PAULA
  SOLLAMI COVELLO, in her official capacity
  as Mercer County Clerk, JOHN S. HOGAN, in
  his official capacity as Bergen County Clerk,
  EDWARD P. MCGETTIGAN, in his official
  capacity as Atlantic County Clerk, and E.
  JUNIOR MALDONADO, in his official
  capacity as Hudson County Clerk,

                Defendants.
Case 3:20-cv-08267-ZNQ-TJB Document 33-3 Filed 01/25/21 Page 2 of 2 PageID: 516




                                CERTIFICATION OF SERVICE

         I, BRETT M. PUGACH, am an attorney with Bromberg Law LLC, and hereby certify that

 on January 25, 2021, a copy of the First Amended Complaint (with Exhibits A-B) was filed via

 ECF with the United States District Court for the District of New Jersey, Trenton Vicinage.

         I further certify that on that same date, service of the First Amended Complaint (with

 Exhibits A-B) on the existing defendants and intervenor (Christine Giordano Hanlon, in her

 capacity as the Monmouth County Clerk, Scott M. Colabella, in his capacity as the Ocean County

 Clerk, Paula Sollami Covello, in her capacity as the Mercer County Clerk, and John S. Hogan, in

 his capacity as the Bergen County Clerk), was effected via ECF, consistent with Local Rule 5.2.

         I further certify that upon the Clerk’s generation of the Summons, service of process of the

 Summons, the First Amended Complaint (with Exhibits A-B), and the Court’s Scheduling Order

 dated January 5, 2021 on the newly added defendants (Edward P. McGettigan, in his official

 capacity as the Atlantic County Clerk and E. Junior Maldonado, in his official capacity as the

 Hudson County Clerk) will be accomplished in a manner consistent with FRCP 4.

         I further certify that notice of the First Amended Complaint (with Exhibits A-B) and the

 Court’s Scheduling Order dated January 5, 2021 to the remaining 15 County Clerks who were not

 named as defendants and to the Secretary of State, as set forth in Paragraphs 64-65 of the First

 Amended Complaint, will be made by electronic mail by no later than Wednesday, January 27,

 2021.

         Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is true

 and correct. Executed at Scotch Plains, NJ on January 25, 2021.



                                                      /s Brett M. Pugach
                                                      Brett M. Pugach, Esq. (032572011)
